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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION


 IN RE:                                             CASE NO.: 22-10014-SMG

 LORENZO ANDREW ALLEN,                              CHAPTER 13

       Debtor.
 ___________________________________/

                             UNITED STATES OF AMERICA’S
                             OBJECTION TO CONFIRMATION

       The United States of America, by and through its undersigned Assistant United States

Attorney, on behalf of the Internal Revenue Service (“IRS”), hereby objects to confirmation of the

Debtor’s Second Amended Chapter 13 (the “Plan”) [D.E. 48] and in support thereof states as

follows:

       1.      On January 3, 2022, Lorenzo Andrew Allen (the “Debtor”) filed a voluntary

petition for relief under Chapter 13 of Title 11 of the United States Code (the “Bankruptcy Code”).

       2.      On March 28, 2022, the IRS filed proof of claim 3-1 (the “Claim”) setting forth an

unsecured priority claim in the amount of $4,674.78 and unsecured general claim in the amount of

$12,734.04.

       3.      On May 19, 2022, the Debtor filed the Second Amended Plan. [D.E. 48]

       4.      Section 1322(a)(2) of the Bankruptcy Code states that a plan “shall provide for the

full payment, in deferred cash payments, of all claims entitled to priority under section 507 of this

title, unless the holder of a particular claim agrees to a different treatment of such claim.” 11

U.S.C. § 1322(a)(2). The IRS’ claim is entitled to priority treatment pursuant to 11 U.S.C. §

507(a)(8).
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       5.      The IRS contends that the Debtor’s Plan fails to provide for any payments toward

the IRS’ priority claim. Further, the Plan fails to provide for the payment of interest on the Claim

as required by 11 U.S.C. § 511.

       6.      Further, the IRS has no record of the Debtor filing a tax return for tax year 2020

and 2021. Pursuant to 11 U.S.C. § 1308, not later than the day before the date on which the 341

meeting was first scheduled, the Debtor is required to file all tax returns required to be filed in the

4-year period preceding the petition date.

       7.      Therefore, the Debtor’s Plan cannot be confirmed.

       WHEREFORE, the United States of America respectfully requests that the Court enter an

Order: (i) denying confirmation of the Debtor’s Plan; (ii) requiring the Debtor to file a plan that

conforms to the Claim as required under the Bankruptcy Code; and (iii) providing for such further

relief as this Court deems just and proper.

                                               Respectfully submitted,

                                               JUAN ANTONIO GONZALEZ
                                               UNITED STATES ATTORNEY

                                       By:     /s/Raychelle A. Tasher
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 2, 2022, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day by transmission of Notices of Electronic Filing generated by CM/ECF to those
parties registered to receive electronic notices of filing in this case or via U.S. mail as listed in the
below Service List.

                                                        /s/Raychelle A. Tasher
                                                        RAYCHELLE A. TASHER

                                             Service List
VIA CM/ECF Notice:

22-10014-SMG Notice will be electronically mailed to:

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                                                        /s/Raychelle A. Tasher
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